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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION
Carolyn Smith, The Village at Hunters Crossing, §
L.L.C., Lirtex Properties, LLC                  §
                                                §         NO: AU:19-CV-01054-RP
vs.                                             §
                                                §
The City of Bastrop, Connie Schroeder, Willie
"Bill" Lewis Peterson, Drusilla Rogers, Lyle
Nelson, Bill Ennis, Dock Jackson, Lynda
Humble, Rick Womble, Michelle Dodson,
Tabitha Pucek, Forestar (USA) Real Estate
Group, Inc., TF Hunters Crossing, L.P.

                                              ORDER


        The Court hereby sets and directs the parties, or counsel acting on their behalf, to appear
 for a final pretrial conference on Wednesday, May 05, 2021 at 09:00 AM in the United States
 Courthouse, Courtroom #4, Fifth Floor, 501 West 5th Street, Austin, Texas.
        The parties should consult Local Rules CV-16(e)–(f) regarding matters to be filed in advance
of the final pretrial conference. Each party is expected to file the materials required by Local Rule
CV-16(e) as one electronic document, styled as a “Notice to the Court,” with each of the 10
submissions identified in the Local Rules (as applicable) attached as an exhibit to that electronic
document. If a party deems it necessary to file any of those submissions under seal, it may file one
separate electronic document, styled as a “Motion for Leave to File Under Seal,” and attach those
submissions as exhibits. Any such motion should explain in detail why sealing the attached exhibits
is necessary. Similar expectations govern the submissions required by Local Rule CV-16(f).


        SIGNED on 12th day of April, 2021.



                                                      ______________________________
                                                      ROBERT PITMAN
                                                      UNITED STATES DISTRICT JUDGE
